Case: 1:24-cv-11813 Document #: 6 Filed: 11/18/24 Page 1 of 3 PageID #:100



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


  FEI DENG,                                              Case No.: 24-cv-11813
                 Plaintiffs
                                                         Judge Sunil R. Harjani
  v.

  THE PARTNERSHIPS AND                                   Magistrate Judge Young B. Kim
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED IN SCHEDULE “A”,

                 Defendants.




MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE
   UNDER SEAL AND/OR REDACTED DOCUMENTS FOR GOOD CAUSE


       Plaintiff, by counsel, hereby moves for leave to file the following documents under

seal: (1) Schedule A to the Complaint, which includes a list of Amazon, Temu, Alibaba.com

and Aliexpress.com Account names used by Defendants, and (2) Exhibit C (attached

herewith) which contains screenshots of the Defendants’ Internet Store listings.

       The Courts frequently seal documents in patent infringement cases to preclude the

defendant from learning the case until its assets can be restrained or seized. See, e.g.,

Chrome Cherry Ltd. v. Partnerships and Unincorporated Associations Identified on Schedule

“A”, No. 21-CV-05491, 2021 WL 6752296 (N.D. Ill. Oct. 20, 2021); Modine Mfg. Co. v.

Borg-Warner, Inc., No. 12-CV-815-JPS, 2013 WL 5651381 (E.D. Wis. Oct. 15, 2013).

       In determining whether to seal a document, the Court must independently determine

whether “good cause” exists to seal the requested information from the public record. See

Fed. R. Civ. P. 26(c); Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d

943, 944 (7th Cir. 1999). The Court found good cause and granted the motion to file under

seal the list of defendants and ex parte motion for a temporary restraining order in a case

where the plaintiff filed an action to combat the defendants’ infringement of its patented
    Case: 1:24-cv-11813 Document #: 6 Filed: 11/18/24 Page 2 of 3 PageID #:101



design by creating e-commerce stores that are making, using, offering for sale, selling, and/or

importing into the United States for subsequent sale or use of Infringing Products to

unknowing consumers. Chrome Cherry Ltd., 2021 WL 6752296, at *2.

         In this case, Plaintiff has a strong interest in preventing the Defendant from

discovering the suit’s existence. Plaintiff has moved for a temporary asset restraint. If the

documents identified above are not redacted and/or filed under seal, the Defendants will

receive notices that their assets are at risk, and they will have the incentive to move them

beyond the jurisdiction of this and other U.S. courts before they can be restrained. 1 Plaintiff

will suffer irreparable harm if the Defendants can transfer their assets in this manner.

Accordingly, Plaintiff has good cause and strong interest in temporarily sealing the above-

referenced documents, and this interest substantially outweighs the general interest in access

to court records.

         Accordingly, Plaintiff respectfully requests by leave to temporarily file under seal

and/or file redacted versions of the following documents: (1) Schedule A to the Complaint

and (2) Exhibit C (attached herewith).




1
 Plaintiff believes that the Defendants are Chinese companies or individuals with overseas bank accounts not
subject to this Court’s jurisdiction. See generally Verified Complaint.

                                                      2
Case: 1:24-cv-11813 Document #: 6 Filed: 11/18/24 Page 3 of 3 PageID #:102



       Once the temporary restraining order has been served to the relevant parties and the

requested actions are taken, Plaintiff will move to unseal these documents.

DATED: November 15, 2024                            Respectfully Submitted:




                                                    Robert M. DeWitty
                                                    DeWitty and Associates
                                                    Attorney for Plaintiff
                                                    1500 K Street,
                                                    2nd Floor RM 249B
                                                    Washington DC 20005
                                                    Email: admin@dewittyip.com;
                                                           rmdewitty@dewittyip.com
                                                    Tele: 2025717070




                                              3
